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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


    United States of America,                        Criminal No. 17-160 (DWF/KMM)

                       Plaintiff,

    v.                                                             MEMORANDUM
                                                              OPINION AND ORDER
    Nathan Allen Debruzzi,

                       Defendant.



Nathan Allen Debruzzi, Pro Se

Craig R. Baune, Katharine T. Buzicky, and Laura M. Provinzino, Assistant United States
Attorneys, United States Attorney’s Office, counsel for the Government.


                                    INTRODUCTION

         This matter is before the Court upon Defendant Nathan Allen Debruzzi’s

(“Debruzzi”) self-styled motions to terminate his restitution obligation (Doc. No. 79

(“Motion 1”)) and to modify various special conditions of his supervised release (Doc.

No. 80 (“Motion 2”) (collectively with Motion 1 (“Motions”)).1 The United States of

America (the (“Government”)) opposes Debruzzi’s Motions.2 (Doc. No. 87.) For the

reasons set forth below, the Court respectfully denies Debruzzi’s Motions.


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       The Court construes Motion 2 pursuant to 18 U.S.C. § 3583(e) to modify
conditions of supervised release. See 18 U.S.C. § 3583(e).
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      Debruzzi’s response to the Government’s opposition was due September 15, 2020.
(Doc. No. 82.) Debruzzi did not file a response.
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                                     BACKGROUND

       On December 1, 2017, Debruzzi pled guilty to one count of Distribution of Child

Pornography in violation of 18 U.S.C. §§ 2252(a) and 2252(b)(1). (See Doc. Nos. 23, 24

(“Plea Agreement”).) As part of his Plea Agreement, Debruzzi agreed that “the Court

may order [him] to make restitution to any victim of his crime regardless of whether the

victim was named in the Indictment or whether the victim [was] included in the count of

conviction.” (Plea Agreement ¶ 9.)

       On April 17, 2018, this Court sentenced Debruzzi to 108 months’ imprisonment to

be followed by a life term of supervised release. (See Doc. Nos. 41, 42 (“Judgment”).)

In addition to the mandatory and standard conditions of supervised release, including

restitution,3 the Court also imposed several special conditions. (Judgment at 3-6.) The

special conditions include: (a) abstaining from drugs, alcohol, or frequenting bars;

(b) submitting to searches; (c) restricted use of computers or on-line services; (d) a ban

on possessing child pornography and a restriction on possessing sexually stimulating

material; (e) a requirement to provide Debruzzi’s supervising officer access to financial

information; (f) a restriction on associating with minors; (g) a requirement to participate

in sex offender treatment; (h) a requirement to participate in mental health treatment; (i) a

requirement to take prescribed medications; (j) a community service requirement; (k) a




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       At the time of sentencing and Judgment, the amount of restitution was deferred.
As discussed below, the Court issued an amended judgment once the amount was
determined. (See Doc. 75.)


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restriction on obtaining lines of credit; and (l) a requirement to obtain a GED or high

school diploma. (Id. at 5-6.)

       Debruzzi did not file a direct appeal; however, he did timely file a motion under

28 U.S.C. § 2255 to vacate his sentence of 108 months’ imprisonment and for

resentencing.4 (Doc. No. 48 (“§ 2255 Motion”.) On October 23, 2019, the Court found

that the record completely foreclosed any notion that Debruzzi received ineffective

counsel and denied his § 2255 Motion. (Doc. No. 60.)

       On December 4, 2019, the Government moved for an order of restitution for

victims “Solomon” and “Andy,” who had presented timely requests. The Court granted

that motion, ordering Debruzzi to pay $1,000 in restitution to each victim. (Doc. No. 70

(“Restitution Order”) at 7-8.) On March 6, 2020, the Court issued an amended judgment

to reflect the restitution amounts. (Doc. No. 75 (“Amended Judgment”).) Debruzzi did

not object to the Restitution Order.

       Debruzzi now moves for relief from his restitution obligation (Motion 1), and asks

the Court to remove all or part of special conditions (a), (d), (e), (f), (j), (k), and (l) of his

supervised release (Motion 2). He contends that “Solomon” and “Andy” were not party



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        Debruzzi claimed four grounds for relief, all based upon what he argued was
ineffective assistance on the part of his former counsel by: (1) refusing to follow his
wishes throughout his proceedings, (2) telling Debruzzi he was not there to help him,
(3) failing to seek an evaluation that would benefit Debruzzi’s case until prompted to do
so by the Court, and (4) failing to pursue a favorable sentence by requesting a longer term
of imprisonment than was ultimately imposed. Debruzzi also argued that he did not
directly appeal his conviction because his attorney did not apprise him of his rights and
options regarding an appeal. (See § 2255 Motion.)


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to his restitution agreement, and alleges that he has never met, spoke to or with, or knew

of their existence “before this case and the Government’s notification” to each of them.

(Motion at 1 at 1.) With respect to the conditions of his supervised release, Debruzzi

asserts a variety of arguments, including such things as: (1) “he does not consume

alcohol” and has no history of abuse, but “is an openly gay man who would time to time

like to go to a bar or nightclub in the twin-cities;” (2) the ban on possessing sexually

explicit material of adults is too broad, in part because “[g]ay porn is a part of the gay

community and a tool of expression;”(3) there is no basis for him to provide his financial

information to his supervising officer; (4) the ban on associating with minors is too broad

because the legal age of consent is less than 18 years of age in some states; (5) he suffers

from a mental disability that makes it difficult to participate in community service;

(6) there is no basis to restrict his ability to obtain a line of credit; and (7) he has already

earned his GED so the requirement to obtain it is moot. (See Motion 2 at 1-3.)

                                        DISCUSSION

       An order to pay Restitution is part of a criminal sentence. See, e.g., United

States v. Johnson, 934 F.3d 716, 720 (7th Cir. 2019); United States. v. Grant, 715 F.3d

552, 554 (4th Cir. 2013). To challenge a restitution order after the original sentencing, a

defendant must timely file a notice of appeal. Manrique v. United States, 137 S.Ct. 1266,

1271-72 (2017). Once a sentence becomes final, the district court may only reconsider or

alter the sentence if authorized by statute. See, e.g., United States v. Addonizio, 442 U.S.

178, 189 & n.16 (1979); United States v. Washington, 549 F.3d 905, 917 (3d Cir. 2008);

United States v. Smartt, 129 F.3d 539, 540 (10th Cir. 1997) (“A district court does not


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have inherent authority to modify a previously imposed sentence; it may do so only

pursuant to statutory authorization.”) (internal quotation marks omitted).

       A term of supervised release is also “part of the sentence.” 18 U.S.C. § 3583(a).

Accordingly, the appropriate means to challenge the imposed conditions is through direct

appeal. United States v. Deatherage, 682 F.3d 755, 757-58 (8th Cir. 2012) (noting that

the Eighth Circuit has published multiple opinions addressing challenges to supervised

released conditions imposed on sex offenders). Challenges that could have been made on

direct appeal are typically procedurally barred via other statutes or rules. See, e.g., Sun

Bear v. United States, 644 F.3d 700, 704 (8th Cir. 2011) (en banc) (observing that relief

under § 2255 is “severely limited”); United States v. Bailey, 235 F.3d 1069, 1071 (8th

Cir. 2000) (finding the issue that could have been raised in direct appeal cannot be raised

in § 2255 proceeding); United States v. Jett, 782 F.3d 1050, 1051-52 (8th Cir. 2015)

(discussing narrow range of errors that Rule 35 may correct); United States v. Winfield,

665 F.3d 107, 114 (4th Cir. 2012) (questioning whether Rule 35 can be used to correct an

error pertaining to supervised release).

       Notwithstanding, the Court has discretion to “modify, reduce, or enlarge the

conditions of supervised release, at any time prior to the expiration or termination of the

term of supervised release.” 18 U.S.C. § 3583(e)(2); see also United States v. Yankton,

168 F.3d 1096, 1098 n.6 (8th Cir. 1999). Prior to modification, the Court must first

consider the “factors set forth in § 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(4), (a)(5), (a)(6)

and (a)(7).” See 18 U.S.C. § 3583(e). “[W]hen considering whether to ‘modify, reduce,

or enlarge the conditions of supervision,’ a court is limited to considering the sentencing


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factors enumerated in § 3553(a), any applicable Federal Rules of Criminal Procedure, and

applicable provisions for setting the initial conditions of supervised release.” United

States v. Romig, 00-cr-355 (JRT) 2014 WL 1048390 at *1 (D. Minn. 2014), quoting

United States v. Shipley, 825 F. Supp. 2d 984, 988 (S.D. Iowa 2011) (internal quotation

marks omitted).

       Courts have also held that a condition should be imminent before a modification

proceeding is proper. See Romig 2014 WL 1048390 at *1, Shipley, 825 F. Supp. 2d at

989; see also, Texas v. United States, 523 U.S. 296, 300 (1998) (“A claim is not ripe for

adjudication if it rests upon contingent future events that may not occur as anticipated, or

indeed may not occur at all.”) (internal quotation marks and citation omitted).) While

there is no bright line as to when a claim becomes ripe for adjudication, the Eighth

Circuit found that six months prior to release from the Bureau of Prisons was sufficient in

one case. See United States v. Rideout, 478 F. App’x 339, 339 (8th Cir. 2012).

       Here, the Court finds that Debruzzi’s objection to restitution is untimely.

Debruzzi did not object to the Judgment or Amended Judgment, nor did he file a direct

appeal. Moreover, the record reflects that as part of his Plea Agreement, Debruzzi agreed

that “the Court may order [him] to make restitution to any victim of his crime regardless

of whether the victim was named in the Indictment or whether the victim [was] included

in the count of conviction.” (Plea Agreement ¶ 9.) The Court previously found that

Debruzzi was responsible for mandatory restitution to both “Andy” and “Solomon.” (See

Restitution Order at 2-3, 7-8.) The Court is therefore unpersuaded by any of Debruzzi’s




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arguments that restitution to “Andy” or “Solomon” is now improper. Accordingly, the

Court finds that Motion 1 fails both procedurally and on the merits.

       Similarly, the Court finds that Motion 2 fails because Debruzzi did not object to

the legality of his special conditions during sentencing or in direct appeal. Even if the

Court were to consider Motion 2 on the merits, the Court finds no legal basis to remove

all or part of any imposed condition of his supervised release. The Eighth Circuit has

already considered and rejected arguments similar to those Debruzzi now makes. See,

e.g., United States v. Muhlenbruch 682 F.3d 1096 (8th Cir. 2012) (upholding polygraph

testing, computer/Internet restrictions, and pornography/sexually stimulating materials

restrictions); United States v. Wiedower, 634 F.3d 490 (8th Cir. 2011) (upholding

polygraph testing and pornography restrictions, but reversing broad computer

restrictions); United States v. Ristine, 335 F.3d 692 (8th Cir. 2003) (upholding

pornography restriction, computer/Internet restrictions); United States v. Sherwood, 850

F.3d 391 (8th Cir. 2017) (upholding and explaining the propriety of financial conditions

when an order or restitution has been imposed).5 This Court finds nothing novel in

Debruzzi’s arguments and is similarly unpersuaded.

       Further, the Court finds that even if Debruzzi had a legitimate challenge to any

imposed condition, his request would be immature. Debruzzi will be in prison for five

more years. “Therefore, this is unlike cases in which defendant’s imminent release from


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        With respect to the GED requirement, the Court finds no modification is necessary
when Debruzzi’s supervising officer may simply note that the condition has been
satisfied.


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prison dictates that the court should examine the conditions for possible modification.”

Romig, 2014 WL 1048390 at *3. Accordingly, Debruzzi’s request for any discretionary

modification of his special conditions is not ripe.

                                      CONCLUSION

        For the reasons set forth above, the Court respectfully denies Debruzzi’s Motions.

Motion 1 fails because it is procedurally barred and because Debruzzi’s obligation to pay

restitution to “Andy” and “Solomon” is both factually and legally correct. Motion 2 fails

because it is procedurally barred. Moreover, Motion 2 also fails on the merits because

there is no legal basis to remove all or part of any imposed condition of his supervised

release, and because even if there was a proper challenge, the challenge would not yet be

ripe.

                                          ORDER

        Based upon the presentations and submissions of the parties, the Court having

carefully reviewed the entire procedural history and record in this matter, and the Court

being otherwise duly advised in the premises, IT IS HEREBY ORDERED that

Defendant Nathan Allen Debruzzi’s self-styled motions to terminate his restitution

obligation (Doc. No. [79]) and to modify various special conditions of his supervised

release (Doc. No. [80]) are respectfully DENIED.


Date: September 25, 2020                          s/Donovan W. Frank
                                                  DONOVAN W. FRANK
                                                  United States District Judge




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